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                                                                          Jul 16, 2012
 4                                                                       CLERK U.S. DISTRICT COURT
                                                                 WESTERN DISTRICT OF WASHINGTON AT TACOMA
                                                                BY                                   DEPUTY
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 7
                                UNITED STATES DISTRICT COURT
 8
                               WESTERN DISTRICT OF WASHINGTON
                                         AT TACOMA
 9

10      UNITED STATES OF AMERICA,
                                                           CASE NO. CR12-5129RJB
11                             Plaintiff,
                                                           ORDER RE: ALLEGATIONS OF
12              v.                                         VIOLATION OF CONDITIONS OF
                                                           SUPERVISION BY UNITED
13      VAL J. WILLIAMS,                                   STATES PRETRIAL SERVICES
14                             Defendant.

15

16          THIS MATTER comes on for hearing on the Petition of the United States Pretrial

17 Services Office alleging defendant violated the conditions of supervision as set forth in said

18 Petition.

19          The plaintiff appears through Special/Assistant United States Attorney, Brian Werner;

20          The defendant appears personally and represented by counsel, John Lundin;

21          The defendant has been advised of (a) the alleged violations; (b) the right to a hearing;

22 and (c) that defendant’s Appearance Bond could be revoked and defendant detained pending

23 resolution of the underlying charges in the Complaint/Indictment/Information if found to be in

24 violation of supervision.
     ORDER RE: ALLEGATIONS OF VIOLATION OF
     CONDITIONS OF SUPERVISION BY UNITED
     STATES PRETRIAL SERVICES- 1
            Case 3:12-cr-05129-RJB          Document 45         Filed 07/16/12      Page 2 of 2




 1          The defendant having

 2          ( X ) acknowledged the right to a hearing on the merits, voluntarily waived that hearing,

 3 and acknowledged violating the following bond conditions as set forth below:

 4                 Using cocaine on or about July 1, 2012.

 5          ( ) been found to be in violation of his bond as set forth below after a hearing before the

 6 undersigned:

 7          The Court, having determined that the defendant violated the conditions of his/her

 8 Appearance Bond, now therefore the defendant’s Appearance Bond is hereby:

 9          ( X) continued in effect.

10          ( ) modified as follows:

11          ( ) revoked, and the defendant is ordered detained for failing to show that he/she will not

12 flee or pose a danger to any other person or the community pursuant to CrR 32.1(a)(1), and CrR

13 46(c), to be delivered as ordered by the court for further proceedings.

14          The clerks shall direct copies of this order to counsel for the United States, to counsel for

15 the defendant, the United States Marshal and to the United States Probation Office and/or

16 Pretrial Services Office.

17          Dated this 16 day of July, 2012.

18

19                                                        A
                                                          Karen L. Strombom
20                                                        United States Magistrate Judge

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24
     ORDER RE: ALLEGATIONS OF VIOLATION OF
     CONDITIONS OF SUPERVISION BY UNITED
     STATES PRETRIAL SERVICES- 2
